         Case 1:20-cv-01814-MKV Document 19 Filed 10/16/20 Page 1 of 3



                                                           USDC SDNY
UNITED STATES DISTRICT COURT                               DOCUMENT
SOUTHERN DISTRICT OF NEW YORK                              ELECTRONICALLY FILED
                                                           DOC #:
                                                           DATE FILED: 10/16/2020
 TERRELL ELLIS,

                                Plaintiff,

         -v-                                                   No. 20-cv-1814 (MKV)

 BROOME STREET FOOD AND DRINK,                                         ORDER
 LLC, et al.,

                                Defendants.


MARY KAY VYSKOCIL, District Judge:

       The Court is in receipt of the parties’ joint letter, dated October 13, 2020, requesting that

the Court continue the stay of this action [ECF #18]. This request is DENIED. Plaintiff initiated

this action by filing a complaint on March 2, 2020 [ECF #1]. Plaintiff brings claims under Title

III of the Americans with Disabilities Act, and similar state and local laws, based on alleged

physical barriers to access at Defendants’ restaurant. In an Order dated April 30, 2020, the Court

granted the parties’ joint request to stay this case based on Defendants’ representations that the

restaurant was closed, and might never reopen, because of restrictions related to the COVID-19

pandemic [ECF #9]. In an Order dated July 1, 2020, the Court granted the parties request to

continue the stay based on representations that the restaurant remained in substantially the same

circumstances [ECF #15]. Now, the parties seek to continue the stay of this action, even though

they concede that “New York City now permits indoor dining at 25% capacity,” and they imply

that the restaurant has already reopened for outdoor dining [ECF #18]. Defendants also note that

they have committed to undertake voluntary efforts to “improve accessibility,” but are awaiting

approval on an application pending with the New York City Landmarks Preservation. However,
          Case 1:20-cv-01814-MKV Document 19 Filed 10/16/20 Page 2 of 3




the parties report that Plaintiff disputes Defendants’ position on this case and has requested

documents to facilitate discussions.

       This case cannot simply remain stayed on the Court’s docket while Defendants weigh

whether to reopen for indoor dining, and the parties proceed to “discuss this matter” among

themselves [ECF #18 at 2]. The parties are free to voluntarily to dismiss this action and resolve

their dispute privately. Otherwise, the Court must proceed with resolving it for them.

Accordingly, IT IS HEREBY ORDERED that the stay of this action is lifted.

       IT IS FURTHER ORDERED that the parties shall appear for an Initial Pretrial

Conference on November 19, 2020 at 11:00 AM. The conference shall be held by telephone. To

join, dial 888-278-0296 at the scheduled time. When prompted, enter Access Code 5195844.

The Court will join once all of the parties are on the line.

       IT IS FURTHER ORDERED that the parties shall file a joint letter and Proposed Case

Management Plan, as described in the Court’s Individual Rules of Practice in Civil Cases, by

November 12, 2020.

       IT IS FURTHER ORDERED that, in advance of filing the joint letter and Proposed Case

Management Plan, the parties shall confer to discuss the possibility of settlement for at least one

hour. The joint letter may not exceed 6 pages and must include the following:

       1. A brief statement of the nature of the case, the principal claims and defenses, and the

           major legal and factual issues that are most important to resolving the case;

       2. A brief statement by the plaintiff, or by the defendant in removed cases, as to the

           basis of subject matter jurisdiction and venue, and a brief statement by each other

           party as to the presence or absence of subject matter jurisdiction and venue.

           Statements shall include citations to relevant statutes. In cases invoking the Court’s




                                                  2
         Case 1:20-cv-01814-MKV Document 19 Filed 10/16/20 Page 3 of 3




           diversity jurisdiction, the parties should state both the place of incorporation and the

           principal place of business of any party that is a corporation, and the citizenship of all

           members, shareholders, partners, and/or trustees of any party that is a partnership,

           limited partnership, limited liability company, or trust;

       3. A statement of procedural posture, including

              a. A brief description of any (i) motions that have been made and decided, (ii)

                  motions that any party seeks or intends to file, including the principal legal

                  and other grounds in support of and opposition to the motion, (iii) pending

                  motions and (iv) other applications that are expected to be made at the

                  conference;

              b. A brief description of any discovery that has already taken place, and a brief

                  description of any discovery that the parties intend to take in the future; and

              c. A statement describing the status of any settlement discussions and whether

                  the parties would like a settlement conference; and

       4. Any other information the parties believe may assist the Court in resolving the action.

Any request for an extension shall be made by letter filed on ECF and must be received at least

48 hours before the deadline.

       Both a model Case Management Plan and the Court’s Individual Rules are available at

https://nysd.uscourts.gov/hon-mary-kay-vyskocil.

SO ORDERED.
                                                      _________________________________
Date: October 16, 2020                                MARY KAY VYSKOCIL
      New York, NY                                    United States District Judge




                                                 3
